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   Joel E. Elkins (SBN 256020)
 1 jelkins@weisslawllp.com
   WEISSLAW LLP
 2 9107 Wilshire Blvd., Suite 450
   Beverly Hills, CA 90210
 3 Telephone: 310/208-2800
   Facsimile: 310/209-2348
 4
   Attorneys for Plaintiff
 5

 6

 7

 8                                       UNITED STATES DISTRICT COURT
 9
                                  NORTHERN DISTRICT OF CALIFORNIA
10

11    GARY BRUCKNER,                                      )   Case No.
                                                          )
12                          Plaintiff,                    )
                                                          )
13                                                        )   COMPLAINT FOR
                      vs.                                 )   VIOLATIONS OF THE
14                                                        )   FEDERAL SECURITIES LAWS
      SUNWORKS, INC., CHARLES CARGILE,                    )
15    DANIEL GROSS, RHONE RESCH, JUDITH                   )   JURY TRIAL DEMANDED
      HALL, and STANLEY SPEER,                            )
16                                                        )
                                                          )
                              Defendants.                 )
17
                                                          )
18                                                        )
                                                          )
19                                                        )
                                                          )
20

21

22          Plaintiff Gary Bruckner (“Plaintiff”), on behalf of himself and all others similarly situated,
23 upon information and belief, including an examination and inquiry conducted by and through his

24
     counsel, except as to those allegations pertaining to Plaintiff, which are alleged upon personal belief,
25
     alleges the following for his Complaint:
26

27

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                                        NATURE OF THE ACTION
 1

 2          1.      This is an action brought by Plaintiff against Sunworks, Inc. (“Sunworks” or the

 3 “Company”) and the members of Sunworks’ Board of Directors (the “Board” or the “Individual

 4 Defendants”) for their violations of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934

 5
     (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and U.S. Securities and Exchange Commission
 6
     (“SEC”) Rule 14a-9, 17 C.F.R. § 240.14a-9, and to enjoin the vote on a proposed transaction, pursuant
 7
     to which Sunworks will be acquired by The Peck Company Holdings, Inc. (“Peck”) through its wholly
 8
     owned subsidiary Peck Mercury, Inc. (“Merger Sub”) (the “Proposed Transaction”).
 9

10          2.      On August 10, 2020, Sunworks and Peck issued a joint press release announcing that

11   they had entered into an Agreement and Plan of Merger dated August 10, 2020 (the “Merger
12   Agreement”) to sell Sunworks to Peck. Under the terms of the Merger Agreement, each holder of
13
     Sunworks common stock will receive 0.185171 shares of Peck common stock for each share of
14
     Sunworks common stock that they own (the “Merger Consideration”). Upon closing of the Proposed
15
     Transaction, Sunworks stockholders will own approximately 36.54%, and Peck stockholders will
16

17   own approximately 63.46%, of the combined company.

18          3.      On October 15, 2020, Sunworks filed a Definitive Proxy Statement on Schedule 14A

19 (“Proxy Statement”) with the SEC. The Proxy Statement, which recommends that Sunworks

20 stockholders vote in favor of the Proposed Transaction, omits or misrepresents material information

21
     concerning, among other things: (i) the Company’s and Peck’s financial projections, which are wholly
22
     omitted from the Proxy Statement; (ii) the data and inputs underlying the financial valuation analyses
23
     that support the fairness opinion provided by the Company’s financial advisor, Holthouse Carlin &
24

25 Van Trigt LLP (“HCVT”); and (iii) HCVT’s and Company insiders’ potential conflicts of interest.

26 Defendants authorized the issuance of the false and misleading Proxy Statement in violation of

27 Sections 14(a) and 20(a) of the Exchange Act.

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              4.      In short, unless remedied, Sunworks’ public stockholders will be irreparably harmed
 1

 2 because the Proxy Statement’s material misrepresentations and omissions prevent them from making

 3 a sufficiently informed voting decision on the Proposed Transaction. Plaintiff seeks to enjoin the

 4 stockholder vote on the Proposed Transaction unless and until such Exchange Act violations are

 5
     cured.
 6
                                        JURISDICTION AND VENUE
 7
              5.      This Court has jurisdiction over the claims asserted herein for violations of Sections
 8
     14(a) and 20(a) of the Exchange Act and Rule 14a-9 promulgated thereunder pursuant to Section 27
 9

10 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. §1331 (federal question jurisdiction).

11            6.      The Court has jurisdiction over defendants because each defendant is either a
12 corporation that conducts business in and maintains operations in this District, or is an individual who

13
     has sufficient minimum contacts with this District so as to render the exercise of jurisdiction by this
14
     Court permissible under traditional notions of fair play and substantial justice.
15
              7.      Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §
16

17 78aa, as well as under 28 U.S.C. § 1391 because defendants have received substantial compensation

18 in this District by doing business here and engaging in numerous activities that had an effect in this

19 District.

20                                               THE PARTIES
21
              8.      Plaintiff is, and has been at all times relevant hereto, a continuous stockholder of
22
     Sunworks.
23
              9.      Defendant Sunworks is a Delaware corporation, with its principal executive offices
24

25 located at 1030 Winding Creek Road, Suite 100, Roseville, California 95678. The Company is a

26 premier provider of high-performance solar power systems. Sunworks’ common stock trades on the

27 NASDAQ Capital Market under the ticker symbol “SUNW.”

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             10.   Defendant Charles Cargile (“Cargile”) has been Chairman of the Board since January
 1

 2 2020, Chief Executive Officer (“CEO”) of the Company since April 2017, and a director of the

 3 Company since September 2016.

 4           11.   Defendant Daniel Gross (“Gross”) has been a director of the Company since March
 5
     2018.
 6
             12.   Defendant Rhone Resch (“Resch”) has been a director of the Company since
 7
     November 2016.
 8
             13.   Defendant Judith Hall (“Hall”) has been a director of the Company since October
 9

10 2019.

11           14.   Defendant Stanley Speer (“Speer”) has been a director of the Company since May
12 2018.

13
             15.   Defendants identified in paragraphs 10-14 are referred to herein as the “Board” or the
14
     “Individual Defendants.”
15
                                     OTHER RELEVANT ENTITIES
16

17           16.   Peck is a Delaware corporation, with its principal executive offices located at 4050

18 Williston Road, #511, South Burlington, Vermont 05403. Peck is one of the largest commercial solar

19 engineering, procurement and construction (“EPC”) companies in the country and is expanding across

20 the Northeastern United States.

21
             17.   Merger Sub is a Delaware corporation and a wholly owned subsidiary of Peck.
22

23                               SUBSTANTIVE ALLEGATIONS

24 Background of the Company

25           18.   Sunworks provides photovoltaic (“PV”) based power systems for the agricultural,
26
     commercial, industrial (“ACI”), public works, and residential markets in California, Nevada,
27

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     Massachusetts, Oregon, New Jersey and Hawaii, with direct sales and/or operations personnel in
 1

 2 California, Massachusetts, and Oregon.

 3          19.     Through its operating subsidiaries, the Company designs, arranges financing,

 4 integrates, installs, and manages systems ranging in size from 2 kilowatts for residential projects to

 5
     multi megawatt systems for larger ACI and public works projects. ACI installations have included
 6
     installations at office buildings, manufacturing plants, warehouses, service stations, churches, and
 7
     agricultural facilities such as farms, wineries, and dairies. Public works installations have included
 8
     school districts, local municipalities, federal facilities and higher education institutions. Sunworks
 9

10 provides a full range of installation services to its solar energy customers including design, system

11 engineering, procurement, permitting, construction, grid connection, warranty, system monitoring

12 and maintenance.

13
            20.     On August 10, 2020, Sunworks announced its second quarter 2020 financial results,
14
     reporting net loss of $1.5 million, or $0.09 per basic and diluted share, compared to a net loss of $6.7
15
     million, or $0.60 per basic and diluted share in the first quarter of 2020; and operating loss of $1.3
16

17 million, compared to operating loss of $6.5 million in the previous quarter of 2020. Defendant Cargile

18 commented on the results, stating:

19          Our second quarter 2020 results reflect our effort to manage operations while dealing
            with the impact COVID-19 has had on Sunworks’ employees, customers, partners,
20          and other stakeholders. We are proud of our team’s ability to continue driving revenue
21          and gross margin improvements, while reducing our operating expenses in this
            difficult business environment. Additionally, our ability to maximize our cash
22          position was augmented by the PPP loan which provided a welcome increase in our
            overall cash balance. Since we were able to leverage the PPP loan to successfully
23          maintain a level of headcount required for effective field operations, we anticipate the
            majority of the $2.8 million will be forgiven. As we head into the third quarter of
24          2020, we are focused on sustaining our cash balance and increasing our backlog by
25          winning new projects, while continuing to minimize our overhead costs.

26          We have seen marked improvement in the operating environment subsequent to the
            end of the second quarter, although operational limitations and challenges as a result
27          of COVID persist. Since the end of the quarter, we have been awarded a follow-on
            public works project totaling $3 million, a follow-on project of almost $2 million with
28
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            one of our large agriculture customers, and an increase of residential sales in both
 1          Northern and Southern California. We are encouraged by these developments and will
 2          continue to prudently navigate through the challenges of the current environment as
            we work to advance the recently announced business combination with The Peck
 3          Company.

 4 The Proposed Transaction

 5          21.       On August 10, 2020, Sunworks and Peck issued a joint press release announcing the
 6
     Proposed Transaction. The press release states, in relevant part:
 7
            SOUTH BURLINGTON, Vt. and ROSEVILLE, Calif., Aug. 10, 2020 -- The Peck
 8          Company Holdings, Inc. (NASDAQ: PECK) ( “Peck”), a leading commercial solar
            engineering, procurement and construction (EPC) company and Sunworks, Inc.
 9          (NASDAQ: SUNW) (“Sunworks”), a provider of solar power solutions for
10          agriculture, commercial and industrial (“ACI”), public works and residential markets,
            today announced that they have entered into a deﬁnitive agreement under which Peck
11          will acquire Sunworks in an all-stock transaction, pursuant to which each share of
            Sunworks common stock will be exchanged for 0.185171 shares of Peck common
12          stock (subject to certain adjustments). Assuming no adjustments, Sunworks’
            stockholders would receive an aggregate of approximately 3,079,207 shares of Peck
13          common stock, representing approximately 36.54% of Peck common stock
14          outstanding after the merger.

15          Merger Rationale and Highlights

16                •   Combination creates a national leader with a coast-to-coast presence poised to
                      capitalize on significant cost synergies.
17

18                •   Improves scale and strengthens national presence, with pro forma revenue of
                      $88 million if the companies had been combined in 2019, and a combined
19                    backlog of $76.8 million if the companies had been combined as of June 30,
                      2020.
20

21                •   Management has identified approximately $6 million in anticipated annualized
                      cost synergies, including supply chain management leverage, redundant public
22                    company costs and various operating expenses.

23                •   The transaction is expected to be accretive to earnings and free cash ﬂow after
                      integration synergies have been implemented.
24

25                •   Combined company will have significantly expanded addressable market to
                      leverage Sunworks’ core capabilities in agriculture and public works.
26
                  •   Combination leverages Peck’s strategic partnership with GreenBond Advisors
27                    to provide project development and financing to fuel growth and solar project
28
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              ownership improving the conversion of Sunworks’ pipeline and expanding its
 1            addressable market.
 2
          •   Peck and Sunworks installed a combined 62,973kW in 2019, which would rank
 3            41st overall and would be the 16th largest EPC contractor based on the latest
              Sun Power World ranking list.
 4
       Management Commentary
 5

 6     Jeffrey Peck, Chairman of the Board and Chief Executive Officer of Peck, commented,
       “This is a transformational combination, leveraging the respective strengths of the two
 7     organizations and creating a national leader in the fast-growing and resilient solar
       energy industry. It provides Peck expansion, scale, an enhanced financial profile and
 8     a stronger platform from which we can continue to build more solar projects. Our
       integration with Sunworks will extend our presence to the west coast and broaden our
 9
       offerings to agriculture and public works. The transaction solidifies our three-pronged
10     growth strategy that we announced a year ago when we listed on Nasdaq through a
       SPAC merger. Since we have been public, we (1) delivered organic growth of revenue
11     from $16 million to $28 million in the first year, (2) partnered with GreenBond
       Advisors to access capital that provides EPC revenue as well as asset ownership in the
12     solar projects we build for the partnership, and now (3) we are delivering on the third
       prong of our strategy with an exciting accretive acquisition. We have been focused on
13
       executing these important initiatives for our shareholders and expect the acquisition of
14     Sunworks to provide many more opportunities for long term growth and profitability.”

15     Chuck Cargile, Chairman of the Board and Chief Executive Officer of Sunworks,
       added, “By joining with Peck, our vision for spreading clean solar energy throughout
16     the U.S. is amplified and expanded. Peck has demonstrated the ability to grow revenue
17     and maintain profitability, and we believe that the combination of our teams,
       customers, projects and partners will materially accelerate revenue growth and
18     earnings. Peck’s strong partnership with GreenBond Advisors will allow us to offer
       financing to a broader range of customers and increase our addressable market.
19     Additionally, our expanded scale will enable us to source solar panels and equipment
       through Peck’s established relationships at lower costs, benefiting our profit margins.
20     Being part of Peck’s platform is exciting, and in the best interest of Sunworks
21     shareholders, customers, business partners and employees.”

22     Transaction Details

23     The transaction is expected to close during the fourth quarter of 2020, subject to
       approval by shareholders of both companies and other customary closing conditions.
24

25     The Board of Directors of Peck and Sunworks have each unanimously voted in favor
       of the definitive transaction agreement.
26
       As part of the agreement, after the transaction closes, Jeff Peck will continue as
27     Chairman of the Board and Chief Executive Officer of the combined company. The
       Board of Directors of the combined company will be comprised of four members of
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            the Peck Board of Directors and three members appointed by the Sunworks Board of
 1          Directors. Because the combined company will be in competition with SunPower
 2          Corporation in some markets, Doug Rose, who is also a Vice President at SunPower
            Corporation, has resigned from the Board of Directors of Peck to avoid conflicts of
 3          interests.

 4 Insiders’ Interests in the Proposed Transaction

 5
            22.     Sunworks insiders are the primary beneficiaries of the Proposed Transaction, not the
 6
     Company’s public stockholders. The Board and the Company’s executive officers are conflicted
 7
     because they will have secured unique benefits for themselves from the Proposed Transaction not
 8
     available to Plaintiff and the public stockholders of Sunworks.
 9

10          23.     Notably, certain Company insiders will secure positions for themselves with the

11 combined company. Specifically, the Peck board will be expanded to add three directors who will be

12 designated by Sunworks’ Board, which is expected to include defendants Gross, Resch, and Hall. In

13
     addition, the Proxy Statement provides that it is possible that certain officers of Sunworks may
14
     continue their employment with Peck if the Proposed Transaction is consummated. See Proxy
15
     Statement at 143.
16

17 The Proxy Statement Contains Material Misstatements or Omissions

18          24.     The defendants filed a materially incomplete and misleading Proxy Statement with the

19 SEC and disseminated it to Sunworks’ stockholders. The Proxy Statement misrepresents or omits

20 material information that is necessary for the Company’s stockholders to make an informed decision

21
     whether to vote in favor of the Proposed Transaction.
22
            25.     Specifically, as set forth below, the Proxy Statement fails to provide Company
23
     stockholders with material information or provides them with materially misleading information
24

25 concerning, among other things: (i) the Company’s and Peck’s financial projections; (ii) the data and

26 inputs underlying the financial valuation analyses that support the fairness opinion provided by the

27 Company’s financial advisor, HCVT; and (iii) HCVT’s and Company insiders’ potential conflicts of

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     interest. Accordingly, Sunworks stockholders are being asked to vote for the Proposed Transaction
 1

 2 without all material information at their disposal.

 3 Material Omissions Concerning Sunworks’ and Peck’s Financial Projections

 4           26.      The Proxy Statement omits material information regarding Sunworks and Peck’s
 5
     financial projections.
 6
             27.      For example, the Proxy Statement sets forth:
 7
             In connection with HCVT’s opinion, HCVT, with Sunworks’ approval . . . reviewed
 8           the following documents and information prepared and/or provided by the
             management of Sunworks to HCVT:
 9

10                                                    ***

11           certain information relating to the historical, current and future operations, financial
             condition and prospects of Sunworks and Peck including, and in the case of Sunworks,
12           internal financial projections (and adjustments thereto) prepared by the management
             of Sunworks relating to Sunworks for the fiscal years ending 2020 through 2025 and
13
             cash flow projections for the 13 weeks through October 18, 2020.
14
     Id. at 132.
15
             28.      The Proxy Statement, however, wholly omits the financial projections for both the
16

17 Company and Peck, including, in the case of Sunworks, internal financial projections (and

18 adjustments thereto) prepared by the management of Sunworks relating to Sunworks for the fiscal

19 years ending 2020 through 2025 and cash flow projections for the 13 weeks through October 18,

20 2020.

21
             29.      Additionally, the Proxy Statement fails to disclose the “estimates of cost and revenue
22
     synergies and other pro forma effects, including the costs to achieve such synergies and other pro
23
     forma effects, referred to as the estimated synergies, that Peck could achieve after completion of the
24

25 Merger” that “Peck’s management prepared and provided to the Peck Board, members of Sunworks

26 management and the Sunworks Board.” Id. at 141.

27

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            30.     The omission of this material information renders the statements in the “Opinion of
 1

 2 Sunworks’ Financial Advisor” and “Certain Estimated Synergies” sections of the Proxy Statement

 3 false and/or materially misleading in contravention of the Exchange Act.

 4 Material Omissions Concerning HCVT’s Financial Analyses

 5
            31.     The Proxy Statement omits material information regarding HCVT’s financial
 6
     analyses.
 7
            32.     The Proxy Statement describes HCVT’s fairness opinion and the various valuation
 8
     analyses performed in support of its opinion. However, the description of HCVT’s fairness opinion
 9

10 and analyses fails to include key inputs and assumptions underlying these analyses. Without this

11 information, as described below, Sunworks’ public stockholders are unable to fully understand these

12 analyses and, thus, are unable to determine what weight, if any, to place on HCVT’s fairness opinion

13
     in determining whether to vote in favor of the Proposed Transaction.
14
            33.     With respect to HCVT’s Discounted Cash Flow Analysis, the Proxy Statement fails to
15
     disclose: (i) as set forth above, the internal financial projections (and adjustments thereto), prepared
16

17 by the management of Sunworks and provided to HCVT, for fiscal years ending 2020 through 2025,

18 including the Company’s unlevered free cash flows and the line items underlying the unlevered free

19 cash flows; (ii) Sunworks’ projected EBITDA for 2025; (iii) quantification of the inputs and

20 assumptions underlying the discount rates ranging from 11.0% to 13.0%; and (iv) the implied per

21
     share range resulting from the analysis.
22
            34.     Additionally, the Proxy Statement sets forth that “for the purpose of the discounted
23
     cash flow analysis, HCVT disregarded any benefit from the Company’s net operating loss balances,
24

25 which were accounted for separately in the implied range of per share consideration and in the

26 enterprise value analysis.” Id. at 140. The Proxy Statement fails, however, to disclose any benefit

27 from the Company’s net operating loss balances.

28
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            35.     Without such undisclosed information, Sunworks stockholders cannot evaluate for
 1

 2 themselves whether the financial analyses performed by HCVT were based on reliable inputs and

 3 assumptions or whether they were prepared with an eye toward ensuring that a positive fairness

 4 opinion could be rendered in connection with the Proposed Transaction. In other words, full

 5
     disclosure of the omissions identified above is required in order to ensure that stockholders can fully
 6
     evaluate the extent to which HCVT’s opinion and analyses should factor into their decision whether
 7
     to vote in favor of or against the Proposed Transaction.
 8
            36.     The omission of this material information renders the statements in the “Opinion of
 9

10 Sunworks’ Financial Advisor” section of the Proxy Statement false and/or materially misleading in

11 contravention of the Exchange Act.

12 Material Omissions Concerning HCVT’s and Company Insiders’ Potential Conflicts of Interest

13
            37.     The Proxy Statement fails to disclose material information concerning the potential
14
     conflicts of interest faced by HCVT and Company insiders.
15
            38.     For example, the Proxy Statement fails to disclose whether HCVT provided any past
16

17 financial advisory or financing services to the Company and the fees received for such services.

18          39.     Full disclosure of investment banker compensation and all potential conflicts is

19 required due to the central role played by investment banks in the evaluation, exploration, selection,

20 and implementation of strategic alternatives.

21
            40.     Additionally, the Proxy Statement fails to disclose material information concerning
22
     the potential conflicts of interest faced by Company insiders.
23
            41.     For example, the Proxy Statement sets forth:
24

25          At the completion of the Merger, the Peck Board will be expanded to add three
            directors who will be designated by Sunworks’ Board, which is expected to include
26          Daniel Gross, Rhone Resch and Judith Hall. In addition, it is possible that certain
            officers of Sunworks may continue their employment with Peck after the Merger.
27

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     Id. at 143. The Proxy Statement fails, however, to disclose the specific details of all employment and
 1

 2 retention-related discussions and negotiations that occurred between Peck and Sunworks executive

 3 officers and directors, including who participated in all such communications, when they occurred

 4 and their content. The Proxy Statement further fails to disclose whether Peck’s proposals mentioned

 5
     management retention in the combined company and compensation and benefits programs applicable
 6
     to the executive officers of the surviving company.
 7
            42.     Communications regarding post-transaction employment and merger-related benefits
 8
     during the negotiation of the underlying transaction must be disclosed to stockholders.          This
 9

10 information is necessary for stockholders to understand potential conflicts of interest of management

11 and the Board, as that information provides illumination concerning motivations that would prevent

12 fiduciaries from acting solely in the best interests of the Company’s stockholders

13
            43.     The omission of this material information renders the statements in the “Opinion of
14
     Sunworks’ Financial Advisor,” “Background of the Merger” and “Interests of Sunworks’ Directors
15
     and Executive Officers in the Merger” sections of the Proxy Statement false and/or materially
16

17 misleading in contravention of the Exchange Act.

18          44.     The Individual Defendants were aware of their duty to disclose the above-referenced

19 omitted information and acted negligently (if not deliberately) in failing to include this information

20 in the Proxy Statement. Absent disclosure of the foregoing material information prior to the

21
     stockholder vote on the Proposed Transaction, Plaintiff and the other stockholders of Sunworks will
22
     be unable to make an informed voting decision in connection with the Proposed Transaction and are
23
     thus threatened with irreparable harm warranting the injunctive relief sought herein.
24

25

26

27

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                                            CLAIMS FOR RELIEF
 1
                                                    COUNT I
 2

 3                 Claims Against All Defendants for Violations of Section 14(a) of the
                        Exchange Act and Rule 14a-9 Promulgated Thereunder
 4
            45.     Plaintiff repeats all previous allegations as if set forth in full.
 5
            46.     During the relevant period, defendants disseminated the false and misleading Proxy
 6

 7 Statement specified above, which failed to disclose material facts necessary to make the statements,

 8 in light of the circumstances under which they were made, not misleading in violation of Section
 9 14(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder.

10
            47.     By virtue of their positions within the Company, the defendants were aware of this
11
     information and of their duty to disclose this information in the Proxy Statement. The Proxy
12
     Statement was prepared, reviewed, and/or disseminated by the defendants. It misrepresented and/or
13
     omitted material facts, including material information about the Company’s and Peck’s financial
14

15 projections, the data and inputs underlying the financial valuation analyses that support the fairness

16 opinion provided by HCVT, and HCVT’s and Company insiders’ potential conflicts of interest. The

17 defendants were at least negligent in filing the Proxy Statement with these materially false and

18
     misleading statements.
19
            48.     The omissions and false and misleading statements in the Proxy Statement are material
20
     in that a reasonable stockholder would consider them important in deciding how to vote on the
21

22 Proposed Transaction.

23          49.     By reason of the foregoing, the defendants have violated Section 14(a) of the Exchange

24 Act and SEC Rule 14a-9(a) promulgated thereunder.

25          50.     Because of the false and misleading statements in the Proxy Statement, Plaintiff is
26
     threatened with irreparable harm, rendering money damages inadequate. Therefore, injunctive relief
27
     is appropriate to ensure defendants’ misconduct is corrected.
28
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                                                    COUNT II
 1
                               Claims Against the Individual Defendants for
 2
                               Violations of Section 20(a) of the Exchange Act
 3
            51.     Plaintiff repeats all previous allegations as if set forth in full.
 4
            52.     The Individual Defendants acted as controlling persons of Sunworks within the
 5
     meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as
 6

 7 officers and/or directors of Sunworks, and participation in and/or awareness of the Company’s

 8 operations and/or intimate knowledge of the false statements contained in the Proxy Statement filed
 9 with the SEC, they had the power to influence and control and did influence and control, directly or

10
     indirectly, the decision-making of the Company, including the content and dissemination of the
11
     various statements which Plaintiff contends are false and misleading.
12
            53.     Each of the Individual Defendants was provided with or had unlimited access to copies
13
     of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to and/or
14

15 shortly after these statements were issued and had the ability to prevent the issuance of the statements

16 or cause the statements to be corrected.

17          54.     In particular, each of the Individual Defendants had direct and supervisory
18
     involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had
19
     the power to control or influence the particular transactions giving rise to the securities violations as
20
     alleged herein, and exercised the same. The Proxy Statement at issue contains the unanimous
21

22 recommendation of each of the Individual Defendants to approve the Proposed Transaction. They

23 were, thus, directly involved in the making of the Proxy Statement.

24          55.     In addition, as the Proxy Statement sets forth at length, and as described herein, the
25 Individual Defendants were each involved in negotiating, reviewing, and approving the Proposed

26
     Transaction. The Proxy Statement purports to describe the various issues and information that they
27
     reviewed and considered—descriptions the Company directors had input into.
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            56.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a) of
 1

 2 the Exchange Act.

 3          57.     As set forth above, the Individual Defendants had the ability to exercise control over

 4 and did control a person or persons who have each violated Section 14(a) and SEC Rule 14a-9,

 5
     promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their positions as
 6
     controlling persons, these defendants are liable pursuant to Section 20(a) of the Exchange Act. As a
 7
     direct and proximate result of defendants’ conduct, Sunworks’ stockholders will be irreparably
 8
     harmed.
 9

10                                         PRAYER FOR RELIEF

11          WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief, including
12 injunctive relief, in his favor on behalf of Sunworks, and against defendants, as follows:

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            A.      Preliminarily and permanently enjoining defendants and all persons acting in concert
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                    with them from proceeding with, consummating, or closing the Proposed Transaction
15
                    and any vote on the Proposed Transaction, unless and until defendants disclose and
16

17                  disseminate the material information identified above to Sunworks stockholders;

18          B.      In the event defendants consummate the Proposed Transaction, rescinding it and

19                  setting it aside or awarding rescissory damages to Plaintiff;
20          C.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the Exchange Act,
21
                    as well as SEC Rule 14a-9 promulgated thereunder;
22
            D.      Awarding Plaintiff the costs of this action, including reasonable allowance for
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                    Plaintiff’s attorneys’ and experts’ fees; and
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25          E.      Granting such other and further relief as this Court may deem just and proper.

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                                             JURY DEMAND
 1
          Plaintiff demands a trial by jury on all claims and issues so triable.
 2

 3

 4   Dated: October 23, 2020                            WEISSLAW LLP
                                                        Joel E. Elkins
 5
                                                        By: /s/ Joel E. Elkins
 6

 7                                                      Joel E. Elkins
                                                        9107 Wilshire Blvd., Suite 450
 8                                                      Beverly Hills, CA 90210
                                                        Telephone: 310/208-2800
 9                                                      Facsimile: 310/209-2348
                                                                -and-
10                                                      Richard A. Acocelli
11                                                      1500 Broadway, 16th Floor
                                                        New York, NY 10036
12                                                      Telephone: 212/682-3025
                                                        Facsimile: 212/682-3010
13
                                                        Attorneys for Plaintiff
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